Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 1 of 18 PageID #: 3397




                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   JUAN LOZADA-LEONI                                  §
                                                      §
          Plaintiff,                                  §
                                                      §       Case No. 4:20-cv-00068-RWS-CMC
          v.                                          §
                                                      §
   MONEYGRAM INTERNATIONAL, INC. and                  §
   MONEYGRAM PAYMENT SYSTEMS, INC.                    §
                                                      §
          Defendants.                                 §



       PLAINTIFF’S RESPONSE TO INTERVENOR’S REQUEST FOR ATTORNEY FEES


          Now Comes Plaintiff, Juan Lozada-Leoni, and files his Response to Intervenor’s Request

   for Attorney Fees, in support of which would respectfully show the Court the following:
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 2 of 18 PageID #: 3398




                                                           TABLE OF CONTENTS

   TABLE OF CONTENTS ........................................................................................................................................ i

   TABLE OF AUTHORITIES ................................................................................................................................ ii

      I.        Statement of Issues ............................................................................................................. 1

      II.       Mr. Kardell’s Conduct During Administrative Process and Litigation .............................. 1

           A.      Pre Filing......................................................................................................................... 1

           B.      Administrative Filing ...................................................................................................... 4

           C.      This Lawsuit.................................................................................................................... 8

           D.      Mr. Kardell’s Threats to Reveal Confidential Information .......................................... 11

      III. Argument .......................................................................................................................... 12

   CERTIFICATE OF SERVICE ........................................................................................................................... 15




                                                                                i
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 3 of 18 PageID #: 3399




                                                     TABLE OF AUTHORITIES


   Cases

   Augustson v. Linea Aerea Nacional–Chile S.A. (LAN–Chile), 76 F.3d 658 (5th Cir.1996). ........ 13

   Burrow v. Arce, 997 S.W.2d 229 (Tex.1999). .............................................................................. 13

   Campbell Harrison & Dagley L.L.P. v. Lisa Blue/Baron & Blue, 843 F. Supp. 2d 673 (N.D. Tex.

     2011) .......................................................................................................................................... 13

   City of Alexandria v. Brown, 740 F.3d 339 (5th Cir. 2014) ......................................................... 14

   Rocha v. Ahmad, 676 S.W.2d 149 (Tex.App.-San Antonio 1984, writ dism'd) .......................... 13

   Sanes v. Clark, 25 S.W.3d 800 (Tex.App.-Waco 2000, pet. denied) .......................................... 13

   Whiteside v. Hartung, 1999 WL 548211, at *6 (Tex.App.-Houston [14th Dist.] July 29, 1999,

     unpub., pet. denied) ................................................................................................................... 13




                                                                            ii
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 4 of 18 PageID #: 3400




   I.     Statement of Issues

          Attorney Steve Kardell is asserting a claim for attorney fees in this matter. However, Mr.

   Kardell’s representation of Mr. Lozada included misrepresenting the work he would do, failing

   to keep Mr. Lozada informed, filing incomplete and/or inappropriate documents, threatening his

   own client using falsehoods and misrepresentations, forcing the client to take a key deposition

   (failing to show for it), failing to prepare for the client’s deposition, requesting NO written

   discovery—not a single document—in this document heavy case and missing five separate

   discovery deadlines to do so, completely missing the expert designation deadline, failing to

   conduct necessary depositions within the multiple discovery deadlines, refusing to withdraw

   when instructed to do so, interfering with continued litigation, and threatening to reveal

   confidential information. Despite the massive hurdles created by Mr. Kardell’s conduct, Mr.

   Lozada’s new counsel managed to obtain a settlement with Defendants. Mr. Kardell now seeks

   to obtain a portion of the attorney fees from that settlement. Relevant authority holds that when

   an attorney performs in the manner that Mr. Kardell did, they are not entitled to a fee.

   II.    Mr. Kardell’s Conduct During Administrative Process and Litigation

          A.      Pre Filing (all statements are supported by Affidavit that is Exhibit 9)

          Mr. Lozada asked Mr. Kardell to let MGI know in April 2017, that they needed to

   preserve evidence in their server pertaining to Lozada’s email address as it contained a lot of

   evidence. Mr. Kardell told Mr. Lozada that he would, but he failed to do it. In August 2017,

   Mr. Kardell actually asked Mr. Lozada if Lozada could draft the document hold letters and

   actually sent Lozada a sample so that he could prepare the draft himself on August 9, 2017. On

   September 27, 2017, Mr. Kardell's paralegal sent Mr. Lozada fifteen hold letters for him to




                                                    1
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 5 of 18 PageID #: 3401




   review, which means that six months after getting hired, Mr. Kardell had not even sent MGI hold

   letters to avoid spoliation of evidence contained in Lozada’s work computer and email account.

          On August 9, 2017, Mr. Lozada sent the following message to Mr. Kardell:

   “Steve, I want to make sure that you understand that the intent of my message was not to

   criticize your work, I was simply requesting more clarity. We don't have a signed engagement

   letter because a few months ago I brought to your attention that I had some concerns about the

   contract that you have presented me for signature and you told me that we could discuss any

   potential changes later. One of the issues we needed to discuss was that in the engagement letter

   you wrote that you were representing me in the negotiation of a severance packet, well, I did not

   hire you to negotiate a severance packet, I hired you to help me navigate the waters of a

   wrongful termination/whistleblower protection action and potentially file a lawsuit on my behalf.

   At the very least, the scope of representation needed to be corrected before I could even sign it. I

   think that I have been very diligent with providing most of the things that you have requested

   from me. I understand that there is a level of complexity to my case but I do need to have a better

   map of where we are going.”

          Mr. Kardell answered:

          “Let me approach this in a slightly different way: (1) in the ‘go by’ Sabine pilot

   complaint we sent you, there is a list of third-party document holds; (2) that is a good example

   because we were able to come up with 7 third parties that we can potentially bring into this

   dispute; (3) in your case, so far all we have is Supervalu and Freshfields. We can address all your

   other concerns and complaints later, but what I would like to know now is do you have any other

   potential third parties that we could send document holds to? One other one I can think of would




                                                    2
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 6 of 18 PageID #: 3402




   be that check casher in Oak Cliff, but I doubt that would have the impact we are looking for. In

   my opinion, this increases the value of the case significantly.

          Mr. Kardell did almost nothing on the matter until June 9, 2017. That day, he asked

   Elizabeth Weathers (from MGI) for dates to meet (for our first settlement discussion). They met

   in Dallas, on June 28, 2017. Chris Ponder and Elizabeth Weathers from MGI showed up. The

   meeting lasted for two hours and it was an unmitigated disaster. Despite that Mr. Kardell had

   spoken to Mr. Lozada several times and Lozada had sent him a significant amount of information

   as he had been Lozada’s lawyer for over three months by then, it was clear that Mr. Kardell

   knew next to nothing about the case. Mr. Kardell told Ms. Weathers that he was going to file a

   Sabine Pilot and a Sox case but it was so obvious that he knew little about the case that Ms.

   Weathers and Mr. Ponder simply mocked him. Mr. Lozada was devastated that in the first

   meeting with MGI, Mr. Kardell had shown up extremely unprepared and he did not understand

   compliance issues, particularly as related to Mr. Lozada’s claims.

          Mr. Lozada then sent the following message to Mr. Kardell,

   “I really wish I could get a response to the questions that I asked via text, I need to know what

   our timeline is, I am concerned that we had a meeting with MoneyGram a few weeks ago where

   they did not take us very seriously, I am also concerned that time is flying by and five months

   have gone by and we have little to show for. I need to have more clarity of what lays ahead, I

   still don't fully understand the game plan and this is troubling me. We met with them so step one

   is done, what happens now? what is step 2, 3, 4, and 5? I know that things take time but there is

   no reason for me to feel that I am flying blind. Please respond to the following questions, not by

   requesting information or by talking to me about something else.

   I need to know:




                                                    3
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 7 of 18 PageID #: 3403




   1. If you have sent MoneyGram any type of hold letter since our meeting with them 2. Has

   MoneyGram communicated with you since that day? if they have not, have you contacted them?

   2. When are you planning to have the SOX filing ready?

   3. Are we contacting DOJ?

   4. Are we filing a lawsuit at some point? if so, when? and what factors do we need to consider to

   take this option.

   I am not trying to be difficult here, I just need to understand what is happening or not happening

   on my case so I know what to expect in the next few months. And financial is still trying to get

   regulatory approval for their acquisition of MoneyGram.”

          On September 8, 2017, Mr. Kardell told Mr. Lozada that he would stop working on his

   case until Mr. Lozada signed his original retainer agreement. On September 11, 2017, Mr.

   Lozada signed a modified version of the engagement letter, and Mr. Kardell told him that he was

   going to file a Sabine Pilot petition.

          Mr. Kardell wrote: “I think we want to do a draft Sabine Pilot petition first. With that

   we will attach those document hold letters. Second step will be to draft the SOX complaint. As

   soon as we get a few urgent items out of the way, we will start on this.” This is approximately

   six months after Mr. Kardell was retained.

          B.      Administrative Filing

          On Sept. 13, 2017, Mr. Lozada asked Mr. Kardell if they needed to worry about any

   deadlines with Sabine Pilot but Mr. Kardell ignored the question. Mr. Kardell's secretary sent

   Mr. Lozada a copy of the SOX complaint on Sep 26, 2017. Mr. Lozada never heard about the

   Sabine Pilot lawsuit again. On September 28, 2017, Mr. Kardell filed a complaint under Section

   806 of SOX with OSHA. He has never filed a Sabine Pilot complaint.




                                                    4
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 8 of 18 PageID #: 3404




           OSHA denied the complaint filed by Mr. Kardell, stating it was insufficient. Mr. Lozada

   got notice of this via FedEx from OSHA and called Mr. Kardell, who told Lozada that he had

   "never seen anything like this before.” Mr. Lozada sent an email which Mr. Kardell answered:

           From Mr. Kardell: November 11, 2017 “I called Juan to let him know we would be

   working on the objections and request for a hearing, and he had several questions related to how

   this works, but mostly he expressed very strong concerns as to (1) the reasons for preparing and

   filing the original complaint so late and (2) why the original complaint was so “bare bones.”

           Mr. Lozada responded: “Steve, nobody is trying to piss you off, all I wanted was

   reassurance that everything is okay. You are right, I don’t know anything about SOX filings, I

   only became concerned when you told me that you had never seen an answer like the one we got

   and then never explained what that meant, sorry but a lot of these issues could be ironed out if

   you communicated a bit better with me and don’t keep suggesting that I am too dumb to

   understand your brilliant strategy. You are very sensitive to criticism but don’t realize that by

   failing to keep me on the loop you leave me with the impression that there is something wrong.

   These are all simple concepts and reasonable expectations, sure hope that this message does not

   irritate you.”

           Mr. Kardell’s response was:     “I apologize; I thought I explained what my OSHA

   investigator/insider told me about this. Repeat: never seen this before, never ever. He said it

   was because of staffing problems.”

           Mr. Kardell sent Mr. Lozada dozens and dozens of emails in which he kept asking Mr.

   Lozada to explain the same things over and over again. Additionally, he frequently asked Mr.

   Lozada to draft documents.




                                                   5
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 9 of 18 PageID #: 3405




          On November 13, 2017, Mr. Kardell appealed the denial from OSHA to the DOL ALJ

   and requested a hearing. On March 5, 2018, Lozada was informed that the SOX complaint had

   been filed. On April 25, 2018, Mr. Lozada was getting worried about time and asked if Mr.

   Kardell was planning to take the deposition of his former supervisor, Juan Manuel Gonzales. On

   May 13, 2018, Mr. Lozada got a message from Mr. Kardell suggesting that he was preparing a

   Sabine Pilot complaint. Mr. Lozada had no idea what was going on.

          Mr. Lozada’s deposition was taken on May 23, 2018. Mr. Kardell canceled several

   meetings that were scheduled to prepare for the deposition and there was no preparation at all.

   Mr. Kardell was completely checked out and answering his emails for most of the deposition. It

   was very unsettling to Mr. Lozada as he had defended many depositions while working at

   Liberty Mutual and knew that Mr. Kardell was not doing his job, he failed to make a single

   objection and often seem completely oblivious to what was happening. Mr. Kardell failed to

   turn over to Defendants some recordings that Mr. Lozada had made during his employment and

   as a result, Mr. Lozada was forced to give a second deposition a few weeks later, that time in

   Austin, for a total of eleven hours of cross examination with Mr. Kardell’s consent and without

   asserting any objections during the cross examination (except for one brief exchange on pp.

   246—48 Vol. 1, on attached transcript, Exh. 10). Not only did Mr. Kardell fail to assert a single

   objection in eleven hours of cross examination, he instructed Mr. Lozada on the record that he

   should make his own objections to the questions. (p. 41 from Vol. 2, Exhibit 11).

          The timeline submitted by Defendants in the administrative proceeding documenting Mr.

   Kardell’s erratic behavior and the fact that he missed three separate administrative deadlines to

   serve written discovery or provide necessary pre-trial materials is summarized in Ex. 8 (MGI’s

   Motion for Clarification in administrative proceeding). In February 2018, the discovery deadline




                                                  6
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 10 of 18 PageID #: 3406




    was set for July 23, 2018. On June 22, 2018, Mr. Kardell made his first request for a deposition,

    and it was for Juan Manuel Gonzales (Mr. Lozada’s supervisor), which was set for July 12th. On

    June 29th, Mr. Kardell canceled the July 12th deposition and asked for dates for depositions of

    nine MGI employees. On July 2d, Mr. Kardell reversed direction and proposed instead to send

    written questionnaires to “five or six” of the employees, followed by a short telephone

    deposition, if necessary. On July 6th, Mr. Kardell reversed direction again and proposed no

    questionnaires and asked for a discovery extension and for Mr. Lozada to be able to take the

    depositions. At that time, Mr. Kardell represented to Mr. Lozada that he had health issues that

    prevented him from taking the depositions. Mr. Kardell apparently had knee surgery at some

    point that summer. MGI then filed all of its pre-trial materials. Mr. Kardell filed no pre-trial

    materials, missing the deadline entirely. Mr. Kardell filed a motion to extend all of the deadlines

    and the final hearing date, which was granted with a new discovery deadline of November 11,

    2018. On September 21, 2018, Mr. Kardell asked for deposition dates for three employees and

    asks again if Mr. Lozada can conduct the depositions himself. On October 3, 2018, Mr. Kardell

    asked again if Mr. Lozada could conduct the depositions and filed a “Motion to Substitute

    Complainant as Counsel.”     While Mr. Lozada was a licensed attorney, he has never practiced

    employment or whistleblower law and did not feel qualified to take any of the depositions. He

    was not really being informed of what was going on or what depositions Mr. Kardell wanted him

    to take. On October 10, 2018, Mr. Kardell finally conducted the deposition of John Tyson. At

    the conclusion of the deposition, Mr. Kardell announced to defense counsel that he was

    withdrawing from the case. On October 17, 2018, the “Motion to Substitute for Purposes of

    Deposition” was denied. Mr. Kardell then attempted to get Defendants to agree to “designate”

    Mr. Lozada as “pro se.” Mr. Lozada was unaware of these efforts on the part of Mr. Kardell.




                                                    7
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 11 of 18 PageID #: 3407




    Upon request, the discovery deadline was again extended to December 14, 2018. Mr. Kardell

    added a number of witnesses that were intended to be deposed, including Dana Johnson and

    Derya White, neither of whom he deposed.

           On October 17, 2018, Mr. Kardell told opposing counsel, Mr. Barcus, that he was

    withdrawing from the case, which Mr. Kardell did NOT tell Mr. Lozada about. Mr. Lozada only

    learned about it through Mr. Kardell’s email exchange with defense counsel:

    On Oct 17, 2018, at 1:35 PM, Steve Kardell wrote:

    “I will note you as opposed. I can’t confirm that it would be a permanent withdrawal. I’m

    assuming for me to come back into the case, the judge would have to approve it.”

           Juan Manuel Gonzalez and Domh Leandro were finally presented for deposition in

    December 2018, in Miami. Mr. Kardell then told Mr. Lozada that he could not make it to the

    depositions, so Mr. Lozada was forced to ask his associate, Davut Atik, to take both depositions.

    They spent many, many hours getting Mr. Atik ready to take the two depositions and flew to

    Miami to attend JMGs and appear telephonically for Leandro's. Even though Mr. Lozada had

    given Mr. Kardell $7,500 to cover expenses, Mr. Lozada was forced to pay for the travel and the

    costs of the depositions themselves—including court reporter fees.   Additionally, in November

    2018 as Lozada and Atik were trying to prepare for the depositions, Mr. Kardell initially refused

    to grant access to Mr. Lozada’s personal client folder to Lozada’s associate, Atik. Mr. Kardell

    stated that he needed to purge the file because he had a significant number of documents in the

    file that made "derogatory" comments about Mr. Lozada.

           C.     This Lawsuit

           Suit was subsequently filed in this Court. Despite his representation to defense counsel

    that he was withdrawing and his repeated efforts to have Mr. Lozada take the depositions, Mr.



                                                   8
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 12 of 18 PageID #: 3408




    Kardell remained in the case. Mr. Kardell subsequently missed two additional deadlines in this

    Court to serve written discovery—and in fact none was ever served. In the exactly three years

    that Mr. Kardell represented Mr. Lozada, Defendants were never required to provide a single

    document or tangible piece of evidence and there were never subpoenas served on the DOJ or the

    FTC to obtain any documentation related to the Injunction or Deferred Prosecution Agreement.

    In three years, Mr. Kardell failed to serve a single Request for Production, a single Interrogatory,

    a single Request for Admissions or a single subpoena. Mr. Kardell missed every single deadline

    to designate experts, including after representing to the Court in January 2019 [ECF 49] that he

    only needed another ten days to do so. Despite the Court granting the requested extension [ECF

    50], Mr. Kardell failed to designate experts, including an economist to prove up Mr. Lozada’s

    economic damages.

           In February 2020, Mr. Lozada sent Mr. Kardell an email stating that Mr. Kardell had

    missed the expert designation deadline, had done a terrible job in a key deposition and did not

    seem to know what he was doing (it should be noted that Mr. Kardell missed five separate

    deadlines to send written discovery to Defendants and none was EVER sent). Mr. Lozada

    attempted to terminate the attorney-client relationship at that time. [Ex. 2]. However, Mr.

    Kardell refused to withdraw and the relationship between Mr. Lozada and Mr. Kardell continued

    to decline.

           On April 4, 2020, at 1:19 a.m., Mr. Kardell sent an email to Mr. Lozada stating “I suggest

    you save your energies that currently seem to be focused on blaming me for your problems in

    this case and let’s discuss how to address this red herring discovery objection that Barcus has

    filed.” [Ex. 3]. At 4:04 p.m. that same day, Mr. Kardell sent another email saying “the more I

    think about this situation, and you having overplayed your hand here (by attacking me) I’ve




                                                     9
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 13 of 18 PageID #: 3409




    decided not to voluntarily withdraw at this point and retain my position as lead counsel in this

    case and will not withdraw unless ordered by the court.” He went on to instruct that anything

    filed in the case still needed to be approved by him. He stated “if you instruct [attorney Ted

    Garber] to file something without giving me the opportunity to look at it first, then I will

    immediately file a motion to strike that pleading and explain some of your unethical practices

    in this case to the court (which are numerous).” [Ex. 3, emphasis in original]. Mr. Kardell went

    on to allege that Mr. Lozada had ceased to have actual damages and was trying to take

    depositions to “bully, harass and intimidate witnesses.” [Id.]. He closed that email thread again

    with a veiled threat to provide some unidentified information to the Court: “Most federal judges

    often see this problem, i.e., former-employee/litigants that can’t seem to separate legitimate

    issues in disputes from their own emotions, and they usually aren’t reluctant to order sanctions in

    these situations, sometimes dispositive sanctions.” [Id.].      A short time later, Mr. Lozada

    responded to Mr. Kardell that Mr. Kardell was misrepresenting the truth and did not have an

    understanding of the facts of the case. [Id.]. Mr. Lozada indicated he would be filing a bar

    complaint. [Id.]. The next day, April 5th, at 1:05 p.m., Mr. Kardell sent another email stating

    that Mr. Lozada had engaged in sanctionable conduct by trying to designate himself as an

    attorney in the case and that, inexplicably, Mr. Lozada [while Mr. Kardell was representing him],

    had engaged in discovery abuse. [Id.]. He ended this email with yet another threat: “I realize

    that it would likely be improper for me to volunteer this information to both the Court and

    Barcus, if you file a motion to remove me, the Court could obviously inquire about this conduct

    on your part, and could possibly even sanction you sua sponte.” [Id.]. Mr. Lozada, extremely

    upset, wrote Mr. Kardell back at 2:17 pm and stated that he had never misrepresented anything,




                                                    10
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 14 of 18 PageID #: 3410




    that Mr. Kardell’s claims were ridiculous and that Kardell was making up allegations because he

    had been fired. [Id.].

           D.      Mr. Kardell’s Threats to Reveal Confidential Information

           There are at least three separate times that Mr. Kardell has threatened Mr. Lozada to

    release confidential information and/or presumably done so as well as threatened to invent

    attorney client communications and “reveal” them to the Court and opposing counsel: a) in an

    odd exchange with Mr. Lozada threatening to reveal attorney client communications to the Court

    and to opposing counsel that Mr. Kardell invented, as described in section C. above, with the

    specific email exchanges attached as exhibits; b) in another series of odd exchanges with Mr.

    Lozada’s new counsel regarding Mr. Kardell filing his own response to Defendant MGI’s

    Motion for Summary Judgement despite long having been withdrawn as counsel, as described

    more fully below with the specific email exchanges attached as exhibits; and c) in another series

    of exchanges with Mr. Lozada’s new counsel, stating that he had spoken to an individual about

    Mr. Lozada’s case long after withdrawing as counsel and without any authority whatsoever

    (again, with the written communications attached as exhibits).

           Mr. Kardell withdrew from representation in this case by Order of April 15, 2020 [ECF

    84]. Subsequently, Defendant MGI filed a Motion for Summary Judgment alleging that the

    OSHA complaint (drafted and filed by Mr. Kardell) that had been filed was insufficient to

    support a claim. In August 2020, Mr. Kardell contacted Mr. Lozada’s current counsel, Susan

    Hutchison. [Ex. 4]. Ms. Hutchison was working on drafting a Response to the MSJ and Mr.

    Kardell expressed that he was upset about what he felt was a personal attack on him in the MSJ

    and wanted to defend his “intent.” Ms. Hutchison, understanding that he felt attacked, stated that

    he could draft an affidavit addressing the sufficiency of the OSHA complaint and she could use it




                                                   11
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 15 of 18 PageID #: 3411




    as an exhibit in the Response. [Ex. 5]. However, Mr. Kardell then sent a “declaration” revealing

    what Ms. Hutchison perceived to be work product and also subsequently indicated he would be

    filing his “own” response, to which Ms. Hutchison objected. [Ex. 6]. Mr. Kardell then drafted

    his own Response, indicating that he was going to be revealing Plaintiff’s “strategic goals,”

    “strategies” and “intent” with respect to the OSHA filing and the filing of the Complaint in this

    case.1 [Ex. 6]. Ms. Hutchison attempted to communicate with Mr. Kardell that he was not

    authorized to reveal any such information as it was both irrelevant to the Court’s consideration

    and violated attorney client communications/attorney work product. [Ex. 6]. Mr. Kardell’s

    response was “I disagree.” [Id.]. Ms. Hutchison refused to attach Mr. Kardell’s “declaration,”

    and, fortunately, he did not file his own Response.                                 However, Mr. Kardell’s cavalier

    determination to reveal attorney work product was extremely concerning.

              On October 6, 2020, Mr. Kardell indicated that he had a conversation with another

    individual about Mr. Lozada’s case that his current counsel might find “interesting.”2 [Ex. 7].

    Ms. Hutchison responded by asking “[c]an you help me understand why you are discussing Mr.

    Lozada’s case with anyone....I truly do not know how to make it any clearer that not only are you

    not authorized to discuss Mr. Lozada’s case, doing so breaches your legal and ethical duties as a

    former attorney.” [Id.]. Again, Mr. Kardell gave no indication that he took the issue seriously.

    III.      Argument

              Under Texas law, “whether and how to compensate an attorney when a contingent fee

    contract is prematurely terminated depends on whether the attorney was discharged, withdrew

    with the consent of the client, or withdrew voluntarily without consent.” Campbell Harrison &


    1
     Plaintiff does not attach Mr. Kardell’s specific declaration or response in that Plaintiff contends they reveal
    privileged work product and Plaintiff does not waive such work product.
    2
     Plaintiff redacts the specifics of to whom Mr. Kardell was speaking as a professional courtesy, but if the Court so instructs, will
    provide such information in an unredacted form. Suffice it to say that such “discussion” was extremely concerning.


                                                                    12
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 16 of 18 PageID #: 3412




    Dagley L.L.P. v. Lisa Blue/Baron & Blue, 843 F. Supp. 2d 673, 686 (N.D. Tex. 2011); Augustson

    v. Linea Aerea Nacional–Chile S.A. (LAN–Chile), 76 F.3d 658, 662 (5th Cir.1996). An attorney

    discharged for cause can only recover in quantum meruit. Id. Where an attorney, without just

    cause, abandons his client, he forfeits all right to compensation. Campbell, 843 F.Supp. 2d at

    686. See also, Whiteside v. Hartung, 1999 WL 548211, at *6 (Tex.App.-Houston [14th Dist.]

    July 29, 1999, unpub., pet. denied) (under contingency fee agreement, client has good cause to

    discharge attorney where attorney breaches his fiduciary duty to client); Rocha v. Ahmad, 676

    S.W.2d 149, 153 (Tex.App.-San Antonio 1984, writ dism'd) (under contingency fee agreement,

    client has good cause to discharge attorney where “attorney fails to perform his duties in the

    manner that an attorney of ordinary skill and ability would have performed his duties”); Sanes v.

    Clark, 25 S.W.3d 800, 805 (Tex.App.-Waco 2000, pet. denied) (holding that contingency fee

    contracts are voidable where attorneys fail to comply with Disciplinary Rules).

           “Client-lawyer fee contracts entered into after the matter in question is under way are

    subject to special scrutiny.” Campbell, 843 F. Supp. 2d at 683. In the case sub judice, the fee

    contract was signed approximately five months after representation began. (Exh. 9 and 12)

           Where an attorney commits a “clear and serious violation” of his fiduciary duties to a

    client, a court can reduce or eliminate the attorney's fee. Campbell Harrison & Dagley L.L.P. v.

    Lisa Blue/Baron & Blue, 843 F. Supp. 2d 673, 685 (N.D. Tex. 2011); Burrow v. Arce, 997

    S.W.2d 229, 240–41 (Tex.1999). A violation is clear if a reasonable lawyer would have known

    the conduct was wrongful. Id. at 241. In the case sub judice, Mr. Kardell committed multiple

    breaches of his fiduciary duties. He made misrepresentations, including that he would file a

    Sabine Pilot lawsuit, that he would conduct appropriate discovery, and that he would meet

    necessary deadlines. Mr. Kardell continually tried to force Mr. Lozada to do Mr. Kardell’s work,




                                                   13
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 17 of 18 PageID #: 3413




    including making Mr. Lozada take depositions without Mr. Kardell present. He made derogatory

    statements about Mr. Lozada, bizarrely accused Mr. Lozada of “abusing discovery” even though

    Mr. Kardell was the attorney of record, and then threatened repeatedly to report some kind of

    misconduct (invented by Mr. Kardell) to the Court for which Mr. Lozada would be sanctioned.

    Mr. Kardell refused to withdraw when clearly terminated by Mr. Lozada and again threatened

    Mr. Lozada to intervene if anything was filed without Mr. Kardell’s consent. Under these

    circumstances, Mr. Kardell should receive no fee. See also City of Alexandria v. Brown, 740

    F.3d 339, 344 (5th Cir. 2014)(finding that the attorney’s work performed had “no value” even

    though the attorney claimed 1,650 hours of time in case).

           FOR THE REASONS STATED, Plaintiff prays that Intervenor Kardell’s request for fees

    be denied in all things and for such further relief as justice may require.

                                                   Respectfully submitted,


                                                   /s/Susan E. Hutchison
                                                   Texas Bar No. 10354100
                                                   sehservice@hsjustice.com

                                                   Hutchison & Stoy, PLLC
                                                   505 Pecan St., Ste. 101
                                                   Fort Worth, Texas 76102
                                                   Phone: 817-820-0100
                                                   Fax: 817-820-0111

                                                   S. Rafe Foreman
                                                   Texas Bar No. 10354100
                                                   srfservice@hsjustice.com

                                                   Hutchison & Stoy, PLLC
                                                   1312 Texas Ave., #101
                                                   Lubbock, TX 79401
                                                   (806) 491-4911

                                                   ATTORNEYS FOR PLAINTIFF




                                                      14
Case 4:20-cv-00068-RWS-CMC Document 149 Filed 12/18/20 Page 18 of 18 PageID #: 3414




                                   CERTIFICATE OF SERVICE


            This is to certify that on December 18, 2020, a true and correct copy of the above and
    foregoing document was served on the following attorneys of record by delivery to each of them
    via facsimile transmission:

    Steve Kardell
    skardell@kardelllawgroup.com
    Kardell Law Group

    John M. Barcus, Gary D. Eisenstat
    Ogletree, Deakins
    john.barcus@ogletree.com
    rroeser@haltomdoan.com

    J. Randall Roeser, Darby V. Doan
    Haltom & Doan
    rroeser@haltomdoan.com
    ddoan@haltomdoan.com


                                               s/Susan E. Hutchison
                                               Susan E. Hutchison




                                                 15
